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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No. 2:08-cr-00390-GEB
8                  Plaintiff,
9         v.                              ORDER
10   TUY NGUYEN,
11                 Defendant.
12

13              The Order filed November 6, 2015, (ECF No. 228), which

14   issued an arrest warrant is withdrawn.

15              A summons issues that shall be served by the United

16   States Probation Office requiring the supervisee to appear before

17   the undersigned judge on November 20, 2015, at 9:00 a.m.

18   Dated:    November 10, 2015

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